Case 0:24-cv-60587-RS Document 18 Entered on FLSD Docket 06/07/2024 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

 HOWARD COHAN,

        Plaintiff,

 vs.                                           CASE NO.: 0:24-cv-60587-RS

 KIDS PETROL CORP
 a Florida Profit Corporation
 d/b/a CHEVRON

       Defendant(s).
 ____________________________________/
             NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, HOWARD COHAN and his

 undersigned counsel hereby give notice that the above captioned action is voluntarily dismissed,

 with prejudice against Defendant, KIDS PETROL CORP, a Florida Profit Corporation, d/b/a

 CHEVRON,.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 7, 2024, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on counsel of record in this action via transmission of Notices of Electronic Filing

 generated by CM/ECF.

                                       By: /s/ Gregory S. Sconzo
                                       GREGORY S. SCONZO, ESQUIRE
                                       Florida Bar No.: 0105553
                                       SAMANTHA L. SIMPSON, ESQ.
                                       Florida Bar No.: 1010423
                                       Sconzo Law Office, P.A.
                                       3825 PGA Boulevard, Suite 207
                                       Palm Beach Gardens, FL 33410
                                       Telephone: (561) 729-0940
                                       Facsimile: (561) 491-9459
                                       Primary Email: greg@sconzolawoffice.com
                                       Primary Email: samantha@sconzolawoffice.com
                                       Secondary Email: perri@sconzolawoffice.com
